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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF WISCONSIN

UNITED STATES OF AMERICA,

                            Plaintiff,                            ORDER
  v.
                                                         Case No. 15-cr-54-wmc-2
AMADOU CAMARA,

                            Defendant.


       The defendant in the above-entitled case has been:

                convicted of the charge against him and no appeal is pending.
                Therefore, it is directed that the passport be transferred to the U.S.
                State Department.

                The State Department is not to reissue a passport without approval of
                U.S. Probation while the defendant remains on supervision.

               convicted of the charge against him and no appeal is pending.
          D
          X
               Therefore, it is directed that the passport be transferred to the ICE
               Regional Office in Milwaukee, Wisconsin.

               acquitted of the charge against him and/or the charge against him has
          D    been dismissed. Therefore, it is directed that the passport be returned
               to the defendant or his authorized representative.

               Defendant is deceased. Therefore, it is directed that the passport be
          D    returned to the State Department.


       Signed this     /sr:ay of April, 2016.




                                         STEPHEN L. CROCKER
                                         Magistrate Judge
